Case 13-42332-can13           Doc 102 Filed 03/19/18 Entered 03/19/18 12:11:11                     Desc
                                Main Document Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION (KANSAS CITY)

In re:                                                      Case No. 13-42332-can-13
         LTANYA KAY LEE

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Richard V. Fink Trustee, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 06/20/2013.

         2) The plan was confirmed on 10/10/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 04/21/2016.

         5) The case was completed on 04/10/2017.

         6) Number of months from filing to last payment: 46.

         7) Number of months case was pending: 57.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $22,832.32.

         10) Amount of unsecured claims discharged without payment: $22,056.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 13-42332-can13         Doc 102 Filed 03/19/18 Entered 03/19/18 12:11:11                           Desc
                              Main Document Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor            $32,624.90
       Less amount refunded to debtor                       $7,542.69

NET RECEIPTS:                                                                                $25,082.21


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $3,000.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                    $1,472.41
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                              $4,472.41

Attorney fees paid and disclosed by debtor:                  $0.00


Scheduled Creditors:
Creditor                                    Claim         Claim            Claim       Principal        Int.
Name                              Class   Scheduled      Asserted         Allowed        Paid          Paid
ACCELERATED FINANCIAL         Unsecured         425.00           NA              NA           $0.00       $0.00
AD ASTRA RECOVERY SERVICES    Unsecured           0.00           NA              NA           $0.00       $0.00
AFNI                          Unsecured           0.00           NA              NA           $0.00       $0.00
AMERICAN CASH ADVANCE         Unsecured      2,000.00            NA              NA           $0.00       $0.00
CASH AMERICA PAWN             Unsecured      2,000.00            NA              NA           $0.00       $0.00
CAVALRY INVESTMENTS LLC       Unsecured            NA         497.18          497.18       $497.18        $0.00
IC SYSTEMS INC                Unsecured      1,167.00            NA              NA           $0.00       $0.00
INTERNAL REVENUE SERVICE      Priority             NA         899.84          899.84       $899.84        $0.00
INTERNAL REVENUE SERVICE      Unsecured            NA       2,322.14        2,322.14     $2,322.14        $0.00
KING OF KASH                  Unsecured      2,000.00            NA              NA           $0.00       $0.00
MIDWEST TITLE LOANS           Unsecured      6,000.00            NA              NA           $0.00       $0.00
MISSOURI DEPARTMENT OF REVENU Secured        5,058.00       2,514.12        1,635.37     $1,635.37      $259.40
MISSOURI DEPARTMENT OF REVENU Priority            0.00        856.62          856.62       $856.62        $0.00
MISSOURI DEPARTMENT OF REVENU Unsecured           0.00      2,337.75        2,337.75     $2,337.75        $0.00
NICHOLAS FINANCIAL            Unsecured      4,000.00            NA              NA           $0.00       $0.00
NIKISHA WASHAM                Secured             0.00           NA              NA           $0.00       $0.00
OPTIMA RECOVERY SERVICES      Unsecured          64.00           NA              NA           $0.00       $0.00
PHILIP COSEY                  Unsecured      3,536.00       3,412.12        3,412.12     $3,412.12        $0.00
SANTANDER CONSUMER USA INC    Secured       12,390.39     13,546.96         6,642.72     $6,642.72    $1,112.00
SANTANDER CONSUMER USA INC    Unsecured           0.00        634.66          634.66       $634.66        $0.00
SPEEDY CASH                   Unsecured      2,000.00            NA              NA           $0.00       $0.00
VILLAGE GREEN PARTNERSHIP     Unsecured         400.00           NA              NA           $0.00       $0.00
WALDO FINANCIAL CTR           Unsecured      2,000.00            NA              NA           $0.00       $0.00




UST Form 101-13-FR-S (9/1/2009)
Case 13-42332-can13            Doc 102 Filed 03/19/18 Entered 03/19/18 12:11:11                     Desc
                                 Main Document Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                            $6,642.72          $6,642.72         $1,112.00
       All Other Secured                                  $1,635.37          $1,635.37           $259.40
 TOTAL SECURED:                                           $8,278.09          $8,278.09         $1,371.40

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                $1,756.46          $1,756.46              $0.00
 TOTAL PRIORITY:                                          $1,756.46          $1,756.46              $0.00

 GENERAL UNSECURED PAYMENTS:                              $9,203.85          $9,203.85              $0.00


Disbursements:

         Expenses of Administration                             $4,472.41
         Disbursements to Creditors                            $20,609.80

TOTAL DISBURSEMENTS :                                                                      $25,082.21


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/19/2018                             By:/s/ Richard V. Fink Trustee
                                                                      Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
